812 F.2d 1407
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Frank M. NELSOEN, Plaintiff-Appellant,v.W. NORMENT, D. TOWER, Defendants-Appellees
    No. 86-2064.
    United States Court of Appeals, Sixth Circuit.
    Jan. 6, 1987.
    
      Before JONES and MILBURN, Circuit Judges, CONTIE, Senior Circuit Judge.
    
    ORDER
    
      1
      This appeal has been referred to this panel pursuant to Rule 9(a), Rules of the Sixth Circuit.  On November 24, 1986, this Court entered an order directing appellant to show cause why his appeal should not be dismissed for lack of jurisdiction because of a late filed notice of appeal.  Appellant has not responded to the show cause order.
    
    
      2
      It appears from the record that the judgment was entered September 26, 1985, and that the notice of appeal was filed on November 7, 1986.  This filing occurred more than a year late.  Rules 4(a) and 26(a), Federal Rules of Appellate Procedure.
    
    
      3
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Rule 4(a) is a mandatory and jurisdictional prerequisite which this Court can neither waive nor extend.   Peake v. First National Bank &amp; Trust Co., 717 F.2d 1016 (6th Cir.1983).  Rule 26(b) specifically provides that this Court cannot enlarge the time for filing a notice of appeal.
    
    
      4
      It is ORDERED that the appeal be and hereby is dismissed for lack of jurisdiction.  Rule 9(d)1, Rules of the Sixth Circuit.
    
    